           Case 2:02-cr-00468-MCE-CMK Document 557 Filed 07/05/06 Page 1 of 1




 1

 2

 3

 4

 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                          No. CR S-02-468 MCE GGH P

12          vs.

13   N. ALLEN SAWYER,

14                  Movant.                              ORDER

15                                              /

16                  The 28 U.S.C. § 2255 motion of N. Allen Sawyer was referred to the undersigned

17   by the district judge. During the pendency of criminal proceedings, the undersigned had recused

18   himself from all aspects of the case involving Mr. Sawyer. The undersigned again recuses

19   himself pursuant to 28 U.S.C. § 445(a), and orders the Clerk to assign a new magistrate judge for

20   purposes of adjudicating the § 2255 motion filed by defendant Sawyer.

21                  It is so ordered.

22   DATED: 7/5/06
                                                         /s/ Gregory G. Hollows
23
                                                         UNITED STATES MAGISTRATE JUDGE
24
     GGH:gh:035
25   sawy0468.rec

26

                                                     1
